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WESTERN DIVISION AFrEF\ Houns nEPoslToHY
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RoY roWNs, )
)
PETITIONER, )
)
vs. ) cAUsE NO.; 03-2707Dv
v )
BAPTIST MEMORIAL HOSPITAL FOR )
WOMEN; AND )
BAP'rIsT MEMORIAL HEALTHCARE )
coRPoRATIoN ' )

RESPONDENTS.

 

MOTION FOR NONJURY TRIAL BEFORE THE JUDGE
AND MOTION TO WAIVE TRIAL BY JURY

 

MOTION

COMES NOW Plaintiff, Roy Towns, by and through his undersigned counsel, and moves
this Court for a nonjury trial before the Judge. Plaintiff states the following in support of this

motion:

l. Plaintiff has consulted with defendant about plaintiffs waiver of his right to a jury trial
and plaintiffs request for a nonjury trial before the Judge. Defendants have refused to

consent to a nonjury trial before the Judge.

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BERN|CE BOUIE DONALD
U.S. D|STRICT JUDGE

This document entered on the docket§hae In o mplfance 1
wlth Flu|e 58 and/or 79(a) FRCP on ’ l '@§‘

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2. Plaintiff hereby waives his right to a jury trial. Plaintifl’s waiver is voluntary, knowing,
and intelligent, with sufficient awareness of the relevant circumstances and likely
consequences, see Brady v. United States, 397 U. S. 742, 748 (1970).

   

Respectfully Submitted,

  

 

samuel Jones, BPR 166013849
Attorney at Law

147 Jefferson Avenue, Suite 407
Memphis, TN 38103

Tel: 901-523-7883

CERTIFICATE or CoNsULTATIoN

This is to certify that Samuel Jones, counsel for Roy Towns (Plaintift), consulted with Paul

Prather, counsel for Defendants, about plaintist request for a nonjury trail before the judge and by letter

dated August lO, 2005 counsdl for Defendants refused to consent to a nonjury trial.

  

 

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CERTIFICATE OF SERVICE

I, Sarnuel Jones, certify that a copy of the foregoing has been placed in the U.S. Mail,
postage prepaid, addressed lto:

Mr. George W. Loveland _
KIESEWETTER WISE §

3725 Charnpion Hills Drive, Suite 3000
Memphis, TN 38125

This 1§“* day of August, 2005.

 

sTATsE D1R1T COURT - WESTERN DISR1CT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:03-CV-02707 was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Samuel .l ones

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Honorable Berniee Donald
US DISTRICT COURT

